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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         --------------------------------------------------------------------X
         E. JEAN CARROLL,
                                                                                  Index No. 160694/2019
                                    Plaintiff,

                            - against -

         DONALD J. TRUMP, in his personal capacity,

                                     Defendant.
         --------------------------------------------------------------------X




                                    MEMORANDUM OF LAW IN SUPPORT OF
                                     DEFENDANT’S MOTION TO DISMISS
                                         AND TO STAY DISCOVERY




          On the brief:                                                   LAROCCA HORNIK ROSEN
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                                                                          Donald J. Trump




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                Defendant Donald J. Trump, by his attorneys, LaRocca Hornik Rosen & Greenberg LLP,

         respectfully submits this memorandum of law in support of his application for an order (i)

         dismissing plaintiff’s Complaint, pursuant to CPLR 3211(a)(8), for lack of personal jurisdiction,

         and (ii) staying the discovery deadlines set forth in the Court’s December 12, 2019 Order (the

         “Preliminary Conference Order”) pending a hearing on the instant motion.

                                         PRELIMINARY STATEMENT

                This defamation lawsuit must be dismissed in its entirety because this Court does not have

         personal jurisdiction over President Trump. Under well-established New York law, defamatory

         statements made outside of New York State do not, on their own, provide a basis for personal

         jurisdiction even when the purported statements were published to New York readers/listeners, or

         were directed towards or caused harm to a New York citizen.

                Here, plaintiff admits in her Complaint that each of the alleged defamatory statements were

         made by President Trump not while he was in New York, but rather while he was in Washington

         D.C. Her lone assertion that President Trump is a “resident” of New York—besides being

         erroneous (he has resided in Washington D.C. for the past three years)—is insufficient to confer

         personal jurisdiction over him for the alleged statements.

                Given that a dismissal for lack of personal jurisdiction will dispose of this action in its

         entirety in New York, it is respectfully requested that the Court stay the discovery deadlines set

         forth in the Preliminary Conference Order pending a hearing on this threshold jurisdictional issue.




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                                                           ARGUMENT

                                                                   I.

                                         THE COURT LACKS PERSONAL
                                     JURISDICTION OVER PRESIDENT TRUMP

                  Beyond a conclusory assertion that this Court has personal jurisdiction over President

         Trump under CPLR 301, plaintiff’s sole allegation in the Complaint supporting in personam

         jurisdiction over him is that he is a New York “resident.” See ¶¶ 18, 20 of the Complaint, which

         is attached as Exhibit A to the Affirmation of Lawrence S. Rosen, dated January 3, 2020 (the

         “Rosen Affirm.”). This, of course, is untrue, as the Court can take judicial notice that the President

         of the United States has resided in the White House for the past three years. Regardless, residency

         does not establish jurisdiction under CPLR 301. See e.g. Chen v. Guo Liang Lu, 144 A.D.3d 735,

         737, 41 N.Y.S.3d 517, 520 (2d Dept. 2016) (jurisdiction under CPLR 301 is determined by an

         individual’s domicile, reasoning that “[a]n individual may have multiples residences, but only one

         domicile”).

                  Given that President Trump was not physically served in New York State,1 there are no

         other grounds for in personam jurisdiction under CPLR 301. As such, plaintiff may only obtain

         jurisdiction over President Trump through New York’s long-arm statute. See CPLR 302(a).

         However, it is blackletter law that the mere making of an alleged defamatory statement outside of

         New York State does not confer jurisdiction under New York’s long-arm statute, even where the

         alleged defamatory statement purportedly causes harm to, or is aimed at, a New York citizen. See

         CPLR 302(a)(3) (“a court may exercise personal jurisdiction over any non-domiciliary…[who]




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          Plaintiff obtained an ex parte order allowing for service on President Trump to be effectuated through his attorneys.
         Rosen Affirm., Exh. B.
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         commits a tortious act without the state causing injury to person or property within the state, except

         as to a cause of action for defamation of character”) (emphasis added).

                Here, by plaintiff’s own admission, each of the alleged defamatory statements were made

         in Washington D.C. and, therefore, cannot provide a basis for jurisdiction on their own. See e.g.

         SPCA of Upstate New York, Inc. v. American Working Collie Ass’n, 18 N.Y.3d 400, 405, 940

         N.Y.S.2d 525, 528 (2012) (no jurisdiction over defamation claim stemming from alleged

         defamatory internet posts in Vermont regarding plaintiff’s purported treatment of animals on its

         premises in New York, even though the posts’ probable purpose was to warn New Yorkers about

         plaintiff’s conduct in their community); Talbot v. Johnson Newspaper Corp., 71 N.Y.2d 827, 829,

         527 N.Y.S.2d 729, 731 (1988) (no jurisdiction over defamation claim stemming from alleged

         defamatory statements in California regarding defendant’s prior observations of a New York

         university basketball coach acting severely intoxicated on various occasions during her prior

         enrollment at the school); Best Van Lines, Inc. v. Walker, 490 F.3d 239, 253 (2d Cir. 2007) (no

         jurisdiction over defamation claim stemming from alleged defamatory internet posts in Iowa

         regarding New York-based moving company operating interstate illegally and not carrying cargo

         insurance because “making defamatory statements outside of New York about New York residents

         does not, without more, provide a basis for jurisdiction, even when those statements are published

         in media accessible to New York readers”); Trachtenberg v. Failedmessiah.com, 43 F.Supp.3d

         198, 203 (E.D.N.Y. 2014) (no jurisdiction over defamation claim stemming from alleged

         defamatory internet posts in Minnesota regarding preschool teacher’s arrest in New York for

         alleged sexual abuse of a child despite plaintiff’s assertions that defendant’s “internet activity

         [was] expressly targeted at or directed to New York”).

                The only recognized exception to this statutory rule is inapplicable here. Specifically,

         plaintiff would need to demonstrate that the alleged defamatory statements were “substantially
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         related” to a “transaction of business” by President Trump in New York. See SPCA, 18 N.Y.3d at

         404, 940 N.Y.S.2d at 527–28. In her Complaint, plaintiff does not (and cannot) make any such

         allegations, as she acknowledges in her Complaint that the alleged defamatory statements were

         made directly in response to her own statements that President Trump sexually assaulted her during

         a personal meeting some twenty odd years ago (and, thus, were not the result of any “transaction

         of business”). See e.g. Best Van Lines, Inc., 490 F.3d at 248 (“the single act of uttering a

         defamation, not matter how loudly, is not a transaction of business that may provide the foundation

         for personal jurisdiction”) (internal quotations and alterations omitted); SPCA, 18 N.Y.3d at 405,

         940 N.Y.S.2d at 528 (alleged defamatory internet posts in Vermont regarding plaintiff’s purported

         treatment of animals on its premises in New York did not constitute a transaction of business in

         New York); Trachtenberg, 43 F.Supp.3d at 203 (alleged defamatory internet posts in Minnesota

         regarding preschool teacher’s arrest in New York for alleged sexual abuse of a child did not

         constitute a transaction of business in New York); Farahmand v. Dalhousie University, 958

         N.Y.S.2d 645, * 3 (Sup. Ct. N.Y. Cty. 2011) (Ling-Cohan, J.) (“plaintiff has not demonstrated that

         defendant transacted business with plaintiff within this state, at any time, nor was there a

         transaction of business within New York between defendant and some other entity that led to [the

         alleged defamation]”).

                For all of these reasons, plaintiff’s Complaint should be dismissed in its entirety for lack

         of personal jurisdiction. Moreover, the discovery deadlines set forth in the Preliminary Conference

         Order should be stayed pending a hearing on this application. Rosen Affirm., Exh. C. As noted

         above, the gravamen of plaintiff’s defamation claim concerns what did or did not transpire during

         a purported personal meeting between the parties more than twenty years ago. Any discovery in

         this case—which will necessarily involve intrusive and burdensome document and testimonial

         discovery from party and non-party witnesses regarding purported events dating back to the mid-
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